                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

 JOHN DOE,                                         )
                                                   )
             Plaintiff,                            )
                                                   )     Civil Action No. 7:18-cv-170
  v.                                               )
                                                   )     By: Elizabeth K. Dillon
 VIRGINIA POLYTECHNIC INSTITUTE                    )         United States District Judge
 AND STATE UNIVERSITY, et al.,                     )
                                                   )
             Defendants.                           )

                                                 ORDER

         In accordance with the memorandum opinion entered this day, it is hereby ORDERED

 that plaintiff’s motion for leave to proceed under a pseudonym (Dkt. No. 15) is GRANTED and

 defendants’ motion to dismiss (Dkt. No. 7) is DENIED. It is further ORDERED that throughout

 the entirety of this case, the parties shall:

            Use only the pseudonym “John Doe” to refer to plaintiff;

            Use only the pseudonym “Jane Roe” to refer to the woman who accused plaintiff in

             the underlying disciplinary proceedings;

            Redact or move to file under seal all documents and exhibits that use the real names

             or other identifying information of plaintiff, Jane Roe, or the witnesses from the

             investigation; and

            Submit unredacted versions of documents and exhibits to chambers.

         The clerk is directed to send copies of this order and the accompanying memorandum




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 opinion to all counsel of record.

        Entered: November 13, 2018




                                          /s/ Elizabeth K. Dillon
                                          Elizabeth K. Dillon
                                          United States District Judge




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